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                   IN THE CIRCUIT COURT OF CLAY COUNTY, MISSISSIPPI

HEATHER WALKER
PLAINTIFF

VS.                                                                 CAUSE NO.                     I 5"^     £

WALMART, INC.
AND JOHN DOES I-V                                                                           DEFENDANTS


                                              COMPLAINT
                                          (Jury Trial Demanded)



        COMES NOW, the Plaintiff, Heather Walker, by and through her attorney of record and files this her

Complaint against the Defendants, WalMart, Inc. and John Does I-V, and in support thereof would show

unto the Court as follows:

                                                 PARTIES

        1.     The Plaintiff, Heather Walker, is an adult resident citizen of Monroe County, Mississippi.

       2.      The Defendant, WalMart, Inc., is a foreign corporation, licensed to do business in the State

of Mississippi, with its principal place of business located at 702 SW 8th Street, Bentonville, Arkansas

72716, that may be served with process through its registered agent for service o f process, C T

Corporation System, 645 Lakeland East Drive, Suite 101, Flowood, Mississippi 39232.

       3.      The Defendants John Does I-V are corporations, entities, businesses and/or individuals which

are presently unknown to the Plaintiff who may have been responsible for or who may have contributed to

the negligence alleged herein. They may be added as defendants when their identities become known.

                                      JURISDICTION & VENUE

       4.      This Court has jurisdiction over the subject matter, and over the parties, and it is the proper

venue as the incident at issue occurred in Clay County, Mississippi; and that pursuant to the provisions of

§11-11-3 of Miss. Code Ann. (1972, as amended), this court has jurisdiction.


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                                 EXHIBIT A                              1
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                                                     FACTS

         5.       On or about September 17, 2019, the Plaintiff, Heather Walker, was an invitee at the

Defendant, WalMart’s retail store located at 5509 Highway 45 Alt S, West Point, MS 39773.

         6.      As the Plaintiff was walking down the Defendant WalMart’s grocery section shopping, the

Plaintiff slipped on what looked like spilled mashed potatoes, a slippery substance on the floor of the

Defendant, Wal-Mart’s store, causing the Plaintiff serious injury.

         7.      The Defendant, WalMart, Inc. has a non-delegable duty to provide a safe environment for all

persons on its premises. The Defendant, W'alMart, Inc. breached its duty to the Plaintiff.

         8.      The Plaintiffs injuries have resulted in severe physical and mental pain and suffering and has

affected and will continue to affect the Plaintiffs life.

                                                   CLAIMS
                                                   Negligence

         8.      The Defendant, WalMart, Inc., owed the Plaintiff, Heather Walker, an invited guest of

Defendant, WalMart, Inc.’s premises, a duty to properly keep the premises safe or to warn of dangers of

which were known or should be known to the Defendant. At all times pertinent, the Plaintiff was acting with

reasonable and prudent regard for her own safety.

        9.       The Defendant, WalMart, Inc. breached its duty to keep a safe premises by willfully,

negligently and/or carelessly causing and/or allowing a slippery substance to be on and to remain on the floor,

causing an unsafe environment for the Plaintiff, and the Defendant, WalMart, Inc.

         10.     The Defendant also failed to warn of the dangerous condition of the premises which caused

injury to the Plaintiff.

         11.               The negligence, carelessness, recklessness, willfulness, and/or wantonness of the Defendant,

WalMart, Inc., as set forth herein and above, was the proximate cause or wholly contributed to the injuries
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    breaches of duty by the Defendant, WalMart, Inc., the Plaintiff has suffered substantial injuries and damages.

                                                     DAMAGES

            12.              As a direct and proximate result of the negligence of the Defendants, the Plaintiff, Heather

    Walker, has suffered injuries and damages which include, but are not limited to the following:

            a)      past, present and future medical bills;

            b)      past, present and future emotional distress;

            c)      past, present and future pain and suffering; and

            d)      past, present and future mental anguish.

            WHEREFORE PREMISES CONSIDERED, the Plaintiff respectfully requests a trial by jury and

    respectfully requests that judgment be entered against the Defendant, WalMart, Inc. and John Does,

    individually, jointly and severally for damages, within the jurisdictional limits of this Court, and pre­

    judgment and post-judgment interest, all costs and all other relief deemed appropriated by the Court.

            Respectfully submitted, this th e_____ day o f_______________ , 2022.

                                                               HEATHER WALKER, Plaintiff




       OF COUNSEL:

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